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IN THE UNITED sTATES DISTRICT coURT 'H'~ED BYE _ Dc_
FoR THE wEsTERN DISTRICT oF TENNESSEE '
wEsTER.N DIvISION l:'5AU13` 25 p" h_ '9
WOMASM GOULD
HELEN RICHARDSON, CLB?K U.S. n;c`
WD far »TC§`T mm
Plaintiff, "`
vs. No. 05-2145-Map

MARIO DUGDALE, M.D., E'I' AL.,

Defendants.

 

ORDER GRANTING MOTION FOR ADDITIONAL 'I‘IME TO RESPOND

 

Before the court is the plaintiff's August 18, 2005,
unopposed motion requesting additional time within which to file
a response to the defendants' motion for summary judgment. For
good cause shown, the motion is granted. The plaintiff shall
have additional time to and including October lO, 2005, within
which to file a response.

It is so ORDERED this 2b v`day of August, 2005.

SAMUEL H. M.AYS, JR.
UNITED S'I‘ATES DISTRICT JUDGE

 

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with §tle§&and/or?§(a) FHCP on__§_w' ' 5/

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This notice confirms a copy of the document docketed as number 51 in
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Honorable Samuel Mays
US DISTRICT COURT

